Case 3:23-cv-00383-MMH-SJH           Document 61      Filed 01/06/25    Page 1 of 2 PageID 906




                            UNITED STATES DISTRICT COURT MIDDLE
                             DISTRICT OF FLORIDA JACKSONVILLE
                                          DIVISION
  JANE DOE #1,

                    Plaintiff,
  v.                                           CASE NO.: 3:23-cv-383-MMH-JBT

  CROWLEY MARITIME CORPORATION, and
  JUAN EMILIO BLANCO,

                    Defendants.
                                                                /


                                     JOINT STIPULATION Of
                                  DISMISSAL WITH PREJUDICE

         IT IS HEREBY STIPULATED by and between counsel for Plaintiff, JANE DOE #1, and

 Defendants, CROWLEY MARITIME CORPORATION, and JUAN EMILIO BLANCO, that in the

 above-entitled cause be dismissed with prejudice, each party to bear their respective costs and

 attorneys’ fees.


                                      Respectfully submitted,



       /s/ Kelly DeGance                               /s/ Spencer Kuvin
       KELLY DEGANCE                                   SPENCER T. KUVIN
       Florida Bar No. 0606022                         Florida Bar No. 89737
       SAMANTHA GIUDICI BERDECIA                       GOLDLAW, P.A.
       Florida Bar No. 0058667                         1641 Worthington Road, Suite 300
       ALEXANDER                                       West Palm Beach, FL 33409
       DEGANCE BARNETT,                                Telephone: (561) 697-4440
       P.A.                                            wpf11942006@goldlaw.filevineapp.com
       1500 Riverside Avenue                           skuvin@goldlaw.com
       Jacksonville, FL 32204                          snewall@goldlaw.com
       (904) 345-3277 Telephone                        aattick@goldlaw.com
       (904) 345-3294 Facsimile                        Counsel for Plaintiff
       Kelly.degance@adblegal.com
       Samantha.giudici@adblegal.com
       Attorneys for Defendant,
       Crowley Maritime Corporation
Case 3:23-cv-00383-MMH-SJH            Document 61        Filed 01/06/25      Page 2 of 2 PageID 907




      KRISTYNE E. KENNEDY                                 ADRIA G. NOTARI
      Florida Bar No.: 194700                             Florida Bar No. 87272
      KELSEY N. ORTIZ                                     NOTARI LAW, P.A.
      Florida Bar No.: 1010647                            1820 SW 14th Court
      COLE, SCOTT & KISSANE, P.A.                         Fort Lauderdale, FL 33312
      Tower Place, Suite 400                              Tel: (954) 257-9028
      1900 Summit Tower Boulevard                         Fax: (954) 231-1128
      Orlando, Florida 32810                              anotari@NotariLaw.com
      Kristyne.Kennedy@csklegal.com                       Counsel for Plaintiff
      Kelsey.Ortiz@csklegal.com
      Telephone: (321) 972-0028
      Facsimile: (321) 972-0099
      Attorneys for Defendant, Juan
      Emilio Blanco




                                CERTIFICATE OF SERVICE

        I certify that on January 6, 2025, I electronically filed the foregoing with the Clerk of
 Court using CM/ECF.


                                                       ________________________
                                                       SPENCER KUVIN




                                                  2
